JAMES E. JOHNSON                             THE CITY OF NEW YORK                                  HANNAH V. FADDIS
Corporation Counsel                                                                                         Senior Counsel
                                        LAW DEPARTMENT                                              phone: (212) 356-2486
                                                                                                       fax: (212) 356-3509
                                                 100 CHURCH STREET                                   hfaddis@law.nyc.gov
                                                NEW YORK, N.Y. 10007

                                                                         June 11, 2020
VIA ECF
Honorable Alison J. Nathan
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

                    Re:     Lisa Snead v. City of New York, et al.,
                            16-CV-9528 (AJN) (DCF)
Your Honor:
         I am the attorney assigned to represent the defendants in the above-referenced matter.
Defendants write pursuant to Local Rule 6.3 to respectfully request that the Court reconsider, in
part, its decision on defendants’ motion for summary judgment (“Summary Judgment Order”)
(ECF No. 144). 1 This motion is made on the grounds: (1) that the Court overlooked the parties’
supplemental briefing regarding the plaintiff’s claim for malicious prosecution; and (2) that an
intervening change in controlling law compels the dismissal of plaintiff’s claim for denial of the
right to a fair trial through fabrication of evidence.
           I.       Background
        Defendants filed their motion for summary judgment on April 30, 2019 (ECF Nos. 129 to
131, 141). Defendants’ motion included an authorized supplemental letter (ECF No. 141),
regarding the issue of whether plaintiff’s claim for malicious prosecution must be dismissed
because her prosecution did not terminate in her favor, under the Second Circuit’s decision in
Lanning v. City of Glens Falls, 908 F.3d 19 (2d Cir. 2018). The Court ruled in the Summary
Judgment Order that plaintiff’s malicious prosecution claim survived summary judgment,2
without addressing the favorable termination issue. Defendants, therefore, respectfully request
that the Court reconsider the Summary Judgment Order with regard to plaintiff’s remaining
claim for malicious prosecution. Defendants further respectfully request that the Court
reconsider the Summary Judgment Order with respect to plaintiff’s claim for denial of the right
to a fair trial, on the basis of a change in controlling law subsequent to the filing of the prior
motion. Specifically, the Supreme Court held in McDonough v. Smith—decided June 20,


1
  Defendants respectfully request that the Court accept this letter-motion in lieu of formal briefing. In the
alternative, defendants respectfully request that the Court set a briefing schedule for defendants’ anticipated motion.
2
    Plaintiff has withdrawn her claims for malicious prosecution against defendants Hanson and Barnes.


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2019—that favorable termination is a prerequisite to bringing a fair trial claim through
fabrication of evidence. 139 S. Ct. 2149, 2158 (2019).
        II.     Standard of Review
        A motion for reconsideration should be granted where “the moving party can point to
controlling decisions or data that the court overlooked—matters, in other words, that might
reasonably be expected to alter the conclusion reached by the court.” Shrader v. CSX Transp.,
Inc., 70 F.3d 255, 257 (2d Cir. 1995). See, also, Ramos v. City of N.Y., No. 15 Civ. 6085 (ER),
2017 U.S. Dist. LEXIS 131465, at *2 (S.D.N.Y. Aug. 16, 2017) (“Rule 6.3 of the Local Civil
Rules for this District provides for reconsideration or reargument of a court’s order on a motion
only where the court has overlooked controlling decisions or factual matters that were ‘put
before it on the underlying motion…and which, had they been considered, might have
reasonably altered the result before the court.’”). In this case, the Summary Judgment Order
seems to overlook defendants’ and plaintiff’s submissions on the issue of favorable termination
under Lanning. Defendants’ motion pursuant to McDonough could not have been put before the
Court when the prior motion was filed, because it had not yet been decided.
        III.    Plaintiff’s Claim for Malicious Prosecution Should be Dismissed
         Defendants respectfully refer the Court to their prior briefing on this issue (ECF No.
141), seeking to dismiss plaintiff’s claim for malicious prosecution on the grounds that a speedy
trial dismissal did not constitute a favorable termination under Lanning. Additionally, several
other district courts have considered this issue since the filing of defendants’ prior motion. In
McKeefry v. Town of Bedford, the Court reasoned that the “Lanning court’s directive that
‘where a dismissal in the interest of justice leaves the question of guilt or innocence unanswered,
it cannot provide the favorable termination required as the basis for that claim,’ would similarly
apply to speedy trial dismissals.” No. 18 Civ. 10386 (CS), 2019 U.S. Dist. LEXIS 207874, at *22
(S.D.N.Y. Dec. 2, 2019); see also, Roman v. City of N.Y., No. 17 Civ.2697 (ALC)(SN), 2020
U.S. Dist. LEXIS 20619, at *31 (S.D.N.Y. Feb. 4, 2020), report and recommendation adopted by
Roman v. City of N.Y., 2020 U.S. Dist. LEXIS 55418, at *1 (S.D.N.Y. Mar. 29, 2020) (speedy
trial dismissal not favorable termination for purposes of malicious prosecution claim); Roger v.
Cty. of Suffolk, No. 13-CV-5290 (JS) (ARL), 2020 U.S. Dist. LEXIS 75594, at *4 (E.D.N.Y.
Apr. 29, 2020) (“This Court agrees with the line of cases holding that a speedy trial dismissal is
not a favorable termination because it “does not affirmatively indicate [Plaintiff’s] innocence, as
required under Section 1983.”)3
        IV.     Plaintiff’s Claim for Denial of the Right to a Fair Trial Should be Dismissed
        Plaintiff’s claim for denial of the right to a fair trial should also be dismissed because her
prosecution did not terminate in her favor. The Supreme Court has held that, in order to bring a
federal fair trial claim like the one plaintiff asserts in this case, the plaintiff must prove that the
underlying criminal prosecution terminated in her favor. See McDonough, 139 S. Ct. at 2156-
57, 2159 (2019) (holding that plaintiff “could not bring his fabricated evidence claim under §
1983 prior to favorable termination of his prosecution” and that a plaintiff has “a complete and
present cause of action for the loss of liberty only once the criminal proceedings against him
terminated in his favor”).

3
 There is some disagreement on this point among District Courts. See Nelson v. City of N.Y., No. 18 Civ.4636,
2019 U.S. Dist. LEXIS 135376, at *12 n.4 (S.D.N.Y. Aug. 9, 2019) (describing split).


                                                     2
        As for what specifically constitutes a “favorable termination,” the Court declined to make
that determination. In dicta, the Court stated, “whether a given resolution should be understood
as favorable or not…might call for a context-specific and more capacious understanding of what
constitutes ‘favorable’ termination for purposes of a § 1983 false-evidence claim, but that is not
the question before us.” Id. at 14, n.10. Because the Court expressly stated that its decision did
not affect the scope of “favorable termination,” and the Court analogized heavily between
malicious prosecution and fair trial claims, Second Circuit law—Lanning—applies. Indeed, the
Supreme Court expressly stated that the “tort of malicious prosecution” was the “most natural
common-law analogy” to a fair trial claim. McDonough, 139 S. Ct. at 2154. For the reasons
discussed infra, and in defendants’ prior submissions, the plaintiff’s speedy trial dismissal was
not a favorable termination.
        A limited number of district courts have issued opinions on the significance of
McDonough. The majority have agreed that McDonough imposes a favorable termination
requirement on fabrication of evidence claims. See McKenzie v. City of N.Y., No. 17 Civ. 4899
(PAE), 2019 U.S. Dist. LEXIS 121937, at *46-47 (S.D.N.Y. July 22, 2019); Rosario v. City of
N.Y., No. 18 Civ. 4023 (LGS), 2019 U.S. Dist. LEXIS 159771, at *17-18 (S.D.N.Y. Sept. 16,
2019). Among them, many Courts have agreed that the definition of favorable termination is
appropriately drawn from malicious prosecution precedent. See, e.g., Goldring v. Donawa, No.
16-cv-5651, 2019 U.S. Dist. LEXIS 161170 (E.D.N.Y. Sept. 19, 2019) (fair trial claim failed
where plaintiff had not received a favorable termination under Second Circuit case law); Breton
v. City of N.Y., 17 Civ. 9247 (JGK), 2019 U.S. Dist. LEXIS 150407, at *27 n.2 (S.D.N.Y. Sep.
3, 2019) (fair trial claim based on fabricated evidence does not accrue until favorable termination
and implicitly extending malicious prosecution favorable termination analysis); Miller v.
Terrillion, 16-cv-52 (ENV)(RLM), 2020 U.S. Dist. LEXIS 18137, *8-11 (E.D.N.Y. Jan. 30,
2020) (Lanning standard applied to claims alleging criminal proceedings based on fabricated
evidence); Daniels v. Taylor, No. 18 Civ. 3717 (RA), 2020 U.S. Dist. LEXIS 42703, *14-16
(S.D.N.Y. Mar. 11, 2020) (Lanning standard applied to fabrication claim); Smalls v. Collins, No.
14-cv-2326 (CBA)(RML), 2020 U.S. Dist. LEXIS 52213, *7-20 (favorable termination required
for fabrication claim and Lanning standard applied). Most recently, yet another Court found that
“McDonough compels the conclusion” that the plaintiff could not bring a fabrication claim
because “a dismissal on speedy trial grounds does not affirmatively indicate that [he] was
innocent of the charges,” and granted defendants’ motion for reconsideration of its denial of
summary judgment. Jamison v. Cavada, No. 17 Civ. 1764 (LTS) (SDA), ECF No. 91 (S.D.N.Y.
June 10, 2020).
         V.       Conclusion
        Accordingly, defendants respectfully submit that plaintiff’s remaining claims for
malicious prosecution and denial of the right to a fair trial should be dismissed with prejudice
because plaintiff cannot satisfy the favorable termination element of the claims. Additionally,
defendants respectfully request that the Court enlarge the parties’ time to submit a joint letter
proposing trial dates and a schedule for pre-trial filings until two weeks after the adjudication of
the instant application.4



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  Defendants conferred with plaintiff’s counsel prior to filing the instant application to seek consent to this request
for an extension of time to file the joint letter; plaintiff takes no position on this aspect of defendants’ application.


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      Defendants thank the Court for its consideration.


                                                          Sincerely,



                                                          Hannah V. Faddis
                                                          Senior Counsel
                                                          Special Federal Litigation Division

CC:   BY ECF ONLY
      Gabriel Harvis
      Baree Fett
      Counsel for Plaintiff




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